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                    @                                        @

D AN IEL G .BO GD EN
U nited States Attom ey
M ICHA EL CH U
A ssistantU nited States Attorrïèy .
L
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                    U N ITED STA TE S D ISTR IC T C O U R T
                           D ISTR IC T O F N EV A D A

                                            -
                                                00 0-
                                                                    2:l1-mj-00724-VCF
UM TED STA TES O F A M ERICA ,                          Case N o.
              Plaintiff,                                SEA LED CO M PLA IN T
  VS.

K ATH EIUN E M .KA PLAN ,
              D efendant.



BEFORE theUnitedStatesM agistrateJudge,LasVegas,Nevada,theundersignedcomplainantbeing
firstduly sworn,deposesand says:
                                     CO UN T O N E
                         Conspiracy to Com m itCom puter Fraud
               From in oraboutJune20l0 to in oraboutM arch 2011,in theDistrictofNevadaand
elsewhere,
                                   K ATH ER IN E M .K APLAN ,
defendantherein,didknowinglyand willfullycombine,conspire,and agreewith othersknown and
unknownto committhecrim eofcomputerfraud,that1s,the defendantand othersdid knowingly
and with intentto defraud acoessaprotected com puter,exceeding theirauthorized accessand by
m eansofsuch conductfurthered the intended fraud and obtained som ething ofvalue,specifically,
confidentialcustomersleadsand otherconfidentialtrade secretsofSelling Sottrce,LLC,in
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                                                                                                       I
 1 violationofTitle 18U.S.C.Sections1030(a)(4)and(c)(3)(A),allinviolationofTitle l8,United
2 StatesCode,Section 37l.                                                                              j
3                                   A ffidavit in SupportofC om plaint
4           Com plainant,SpecialAgentScottBaugheroftheFederalBlzreau ofInvestigation,being
5 duly sworn,statesthefollowingasprobablecause to sapportthe aboveallegations:
6kt                                      S
                                                  um m ary
7           Starting no laterthan June 2010 to atleastM arch 2011,a group ofform erSelling Source,

8 LLC (çtsellingSource'')employees(includingKatherineKaplan),andtheiralliesconspiredwith
9    K im Baxa,a currentSelling Source em ployee to obtain m oney mzd property by m eansof
1O   m aterially false and fraudulentpretenses,representations and prom ises,by stealing Selling
11 Source'svaluable trade secrets. These secretsincluded hundredsofthousandsofcustomerleads,
12   sensitive contracts and pricing inform ation,and docum entsdiscussing future ad cam paigns. The

13 aggregatevalueofthecustomerleadinformationaloneappearstobeinthetensofmillionsof                     i
14   dollars. Theconspiratorsintended to exploitthesetradesecretsby form ing arivalcompanythat
15 w ould com pete w ith Selling Source.The FB1seeks a w arrantfrom thisCourtforthe arrestof

16ljKatherineM .Kaplan.
17                                             Introduction
18          1.      1am a SpecialAgentwiththeFederalBureau ofInvestigation,currentlyassigned to
19 LasVegas,Nevada.Ihavebeen employed asa SpecialAgentofthe FBIsinceJune2004.Over
20 the course ofm y em ploym entwith the FBI,1have'
                                                  investigated a w ide variety ofm atters,including
21 casesinvolving computerintrusions,Internetfraud,counterterrorism ,and bankrobberies.During
22 the course ofm y FBIem ploym ent,lhave selwed num erous search w arrantson b0th E-m ail
23 accountsandphysicallocations Priorto m y em ploym entw ith the FBI,lw asem ployed asthe
                                    .
                                                                                                           I
                                                                                                           I
24   chieftechnology officerofa w eb developm cntand Internethosting com pany where Igained
25 extensive experience relating to Intenw tcom m unications. Ihold a Bachelor's ofBusiness
26 A dm inistration degree in Com puterlnform ation System s. Currently,lam assigned to the


                                                      2
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1 Cyberctim esFBIsquad in LasVegas,and have substantialexperienceinvestigating computer-
2    related criminalviolations.
3           2.     The information contained in thisaftidavitisbased on,among otherthings,my
4    personalknowledgeand observationsdming the courseofthisinvestigation,inform ation                  !
5 conveyed to me by the divisionsoftheFBI,the public,othergovenunentagenciesand officials,
6 otherlaw enforcementagenciesand ofticials,and my review ofrecords,documentsand other
7 evidence obtained during this investigation.
8           3.     Dueto my training,my experienccand thisinvestigation,lam also fam iliarwith

9ijtheinternet,onlineserviceproviderssuchasDropbox,Yahoo!atldGoogletandothers),andthe
10   mmmerin which criminalsuse the internetartd com putersto furthertheirschem es. M oreover,
                                                                                                        !
11 referencestomyexperienceincludemydiscussionswithother1aw enforcementofficerswhoalso                  l
12   have such expeHence.
                                                                                                            l
13          4.     Ata11timesdtuingtheinvestigation described herein,Ihave acted in m yoflicial
14 capacityasa SpecialAgentoftheFBI. Since theAffidavitisbeing subm ittedforthelim ited
15 purposeofsecuring an arrestwarrantforKatherineM .Kaplan,Ihave notincluded each and every
16   factknown to m econcerning thisinvestigation.Ionly setforth thefactsthatIbelieveare
17   necessaryto establish probablecauseforthe issuance ofthisarrestwarrant.
                                                             '

                                                                                                        j
18                                     Tht Person to be A rrested                                       1

19          5.     Katherine M .Kaplan isa Caucasian female,believedto beresiding in Ecuador,
20 with aformerresidencein Henderson,N evada. Aswillbe morefully described later,Kaplan isa
21 form er Selling Source em ployee and contractor.
22          6.     The A ffidavitis in supportof an application foran arrestw arrantfor Katherine M .

23l1Kaplan,whoIhaveprobablecausetobelievedidviolate,amongotherstatutes,Title18,United
24 StatesCode,Sections371(conspiracytocommitcomputerfraud- exceedingauthorized access)
25 (the''SubjectOffense'').
26 . . .


                                                      3                                                 1
                                                                                                        '
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 1           7.     Iunderstandthattheelementsofaviolationof18U,S.C,j371(conspiracy)areas
 2 follows:
                                                                                                       !
 3                  FO
                    2ir1
                       s1
                        t,bther
                            eginninginoraboutJune2010,andendingnoearlierthaninoraboutMarch 1
                               e w as an agreem entbetw een two orm ore persons to com m itatleastone
                         ,
 4                  crim e ascharged;
 5                  Second,thedefendantbecam eam emberoftheconspiracy knowingofatleastone
                    ofitsobjectsandintendingtohelpaccomplishit;and
 6
                    Thirdsone ofthe mem bersoftheconspiracy performed atleastone overtacton or
 7                  afterJune20l0forthepurpose ofcarrying outtheconspiracy,with allofyou
                    agreeing on a particularovertactthatyou find wascomm itted.
 8
             8.     Inturn,Iunderstandthattheelementsofaviolationof18U.S.C.j1030(a)(4)
 9!
      (computerfraud-exceedingauthorizedaccess)areasfollows
10
                    First,defendantoranotherco-conspiratorknowingly exceeded authorized accessto
11                  acomputerused in oraffecting interstate comm erce orcommunication;
12                  Second,a co-conspiratordid so w ith the intentto defraud;
l3                  Third,by exceeding authorized accessto the com puter,the co-conspiratorfurthered '
                    the intended fraud;mld
14
                    Fourth,theco-conspiratorby exceeding authorized accessto the computerobtained
15                  som e thing ofvalue.
l6                                                Facts
17 Intraduction
18           9.     Based on my investigation,Isubm itthere isprobablecauseto believe that

19 Katherine(alsoknownastiltathy''ord&Kat'')Kaplan,aformerSellingSource,LLC,consultant,
20 conspired with Kim Baxa,acurrentSelling Sourceem ployee,to stealSelling Source'sdataand
21 sellitto Selling Source's rivals. The rivals initially consisted ofCurtis Pope,Charlie W urm ,and

22 others.LatersKaplanandBaxahadafallingoutwithPopetandbyextension,W urml.Atthat
23 pointKaplanandBaxabegantoworkontheirown(withothers),leavingPopeandW urm toform
24    new partnerships with othersand begin working on their ow n asw ell.
25    ...
26    ,..                                                                                                  !


                                                     4
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 1 Background regarding Selling Source,LLC,and itssubsidiaries
 2              10.     On August8,2011,lmetwith representativesofthevictim,Selling Source,LLC.
 3 According to them ,Selling Solzrceisa company based in LasVegasthatisone ofthe largest
 4 digitalm arketing com panies in the United States. Selling Source prim arily buys,generatesand
 5       marketsleadsforpayday loans,Thisinform ation isbot,
                                                           h valuableand time-intensive to generate.
 6       Forexample,according to Selling Source,the companypurchasesleadsfrom third-partyaftiliates

 7 forapproximately$44/lead,andisabletosellthem for$55/1ead,(Notably,thiscaseinvolves
 8 hundredsofthousandsofstolen records,so,tmderthatvaluation,the stolen dataisworth tensof
 9 millionsofdollars.)
10              11.     Selling Sottrce ownsseveralsubsidiariesincluding Optimized ContactSolutions

11 (OCS),forwhichBaxaandKaplanworked;andPartnerW eekly,dbaM oneyM utual(for
12 convenience,Imayrefertotheseanyora1IoftheseentitiesasSellingSource),SellingSotlrce
13       creates m arketing cam paignsforthe payday lending businesses: M oney M utualis an exam ple of
14       onesuch cam paign. Selling Source'sM oneyM utualcampaign consistsofE-m ail,directm ail,and
15 television advertisements,som eofwhich featureM ontelW illiam s. W hen customersrespondto
16       the ads,theirinformation iscollected,and theyarem atched to a Selling Source affiliated lender

17 (SellingSourcedoesnotitselflendmoney),TheIenderspaySelling Sourceforeachcustomer
18       lead.Even afterthe loan isftzltilled,there isstillvalue in the data Selling Sottrce hascollected
19       becausecustom erswho havepreviously applied forpayday loansarem ore likely to apply again.
20              12.     OC S wasa directm ailcom pany. A ccording to Selling Sotzrce em ployees, O CS
21 m ailed a1lthe consum ersthatcompleted loan applicationson Selling Source'swebsites. 0CS had
22       accessto a1lofSelling Source'sdataasaresultbecause itnecded to send filesto themailhouses
23 thatdid fullillm ent.

24              13.     Mostoftheco-conspiratorsaddressedinthisaftidavitareformer(orcurrent)
25       employeesofSelling Source oritsam liates.Kim Baxa iscurrently DirectorofOperationsfor
261l Optim ized ContactSolutions. Kathy ttKat''Kaplan isa form ervice-presidentofm arketing of
  i1                                                  .

     l
     r
                                                          5
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                    *                                          @

Optimized ContactSolutions.CurtisPopeformerly ran acallcenterforSelling Source. Charlie
W urm isa form ernetwork adm inistratorforSelling Source,wherehe suppolled thecom pany's
network and callcenter.
O n June 28,2010,K at K aplan E-m ails to Curtis Pope data stolen from Selling Sourve

       14.     Previously,IobtainedwarrantstosearchKatKaolan@ msn.com and
CP1234@ me.com .Asfurtherdescribedbelow,myreview ofthecontentsoftheseE-mail
accountsshow thatthey belonged to KatKaplan and CurtisPope.
               Around June28,2010,Kaplan sentan E-mailfrom heraccountat

katkaplan@ msn,com toCurtisPope(cpl234@me.com)withthemessagesimplybeing,liAttached
isa zip tile ofthe creatives.Talk to you tom orrow .'' A ttached to the E-m ailw as a file called
ticreatives.zip,''w hich lreviewed.
        16.    çfcreatives.zip''appearsto contain datastolen from Selling Source,LLCSaccording
to Selling Source,LLC'SPresidentGlennM cKaytowhom Ishowedthisfile.(Generally,a.zip
fileisawaytobundlefilestogetherinone.ziparchive,sothattheycanbesentasonet-
                                                                         ile.l
Specilically,dscreatives.zip''mostly relatedto Selling Source'ssubsidiary,PartnerW eekly,and the
saleofpayday lending leadsto lenders. M cKay told meAecreatives.zip''would beparticularly
valuable to anyone w ishing to com pete w ith Selling Source,because the file included trade secrets,
such as,am ong otherthings,pricing inform ation relating tothe saleofleadsto aparticular

Com pally.
        17.    By June of2010 Kaplan wasno longervice-presidentofmarketing,butshe still
worked forSelling Sotzrce,LLC,msacontractor,training herreplacementand helping to ensure
evelg hing stayed on budgetduring hertransition outofthecompany.Kaplan'scontractwith
Selling Source,LLC ended in June 2010,a factthatseverely restricted Kaplan'saccessto Selling

Sourcedata.Therefore,1believethatBaxajoinedtheconspiracyasaresultofKaplan likely
recruiting Baxa in orderto m aintain accessto Selling Solzrce'sdata afterKaplan leq.




                                                   6
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 l O n June 29,2010,K aplan E-m ails m ore stolen data to Pope
2           l8.     Around June 29,2010,Kaplan sentanotherE-m ailto Pope.Them essageread
 3 sim ply,disorry guys...Isentthewrong fileslastnight.Please forward to Gordonx''Kaplan'sE-
4    m ailcontained fourzip archives,allofwhich appeartom eto belong to Selling Source.
 5          19.     For exam ple,one archive cono ined a file nam ed   .
 6 O CS M ontel Control 062910b.zip,w hich contained a PD F file thatwhen opened appeared to be
 7 am ailerdesign forSelling Source'sM oney M utualad campaign,with a picture ofM ontel

 8 W illiamsonit.(Asnotedabove,M oneyMumalisapaydaylendingmarketingcampaign
 9 belongingto SellingSource,) M oreover,thefilenamealso suggestsitsorigin:
10 OCS MontelControl062910b.zipreferstoOptimizedContactSolutions(OCS),theSelling
11 Source subsidiary forw hich Baxa and K aplan worked,and the ad cam paign featuring M ontel
12   W illiam s. Thisad cam paign runsin statesoutsideNevada,and itsgoal,according to Selling
13   Sourcesisto generateleadsforpaydayloans. Som eofthese leads,thus,com efrom outside

14 Nevadaandthus,SellingSource'scomputers(towhichBaxaandKaplanconspiredtoexceed
15 authorizedacess)arecomputersthataffectinterstatecomrnerce.
16          20.     Anothertilewascalled ('SS 6x9 041610 Final.zip.''Ibelievethe%tSS''partofthe
17 filenam elikely standsforSelling Source.Thearchivecontained an identically nam ed PDF that
18 appearsto be a m ailerdesign forCashLoanN etw ork.com ,w hich,according to Selling Source
19 PresidentGlerm M cKay,isanotherSelling Source ad campaign forpayday loans.

20 Baxa(and Kaplan)werewellawarethatcompanydatawasrequired tobekeptconfidential
21          21.     Baxa,asnoted above,worksforSelling Sotlrce'ssubsidiary,Optimized Contact

22 Solutions(OCS).0CSsendsdirectmailmmketingmaterialstoindividualswhofilloutloan
23 applications,asaresultofvmiousSellingSourcemarketingcampaigns.Baxa'sjobtitleatOCSis
24   çiD irectorofO perations.'s
25          22.     Baxa'sem ploym entagreem entrequired herto keep com pany inform ation
26 conlidential. U nderBaxa's em ploym entagreem ent,Baxa agreed to keep contidentialttall


                                                     7
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    '
                                                                                                                 j



.
         l informationobtaintdthrough (her)workrelateddutiesthatisnotgeneralpublicknowledge.''
         2 N otably,Baxa acknowledgedthatheremployerand itsclientshad ltbusinessand teclmical
         3 information which they keep in confidence''andthatthegoodwilland com petitive abilityofher
         4   em ployerdepended on keeping itsinform ationconfidential. Thus,Baxa agreed to tdnotrelease,
         5 useordisclose''such inform ation exceptwith the priorwritten pennission ofheremployer.
         6          23.    Sim ilarly,Kaplan agreed to keep contidential,44a11inform ation obtained through an
         7 employee'swork-related dutiesthatisnotgeneralpublic knowledge ...providedto herby                     l

         8 OptimizedContactSolutions,Ltd.oritsclients,exceptingonlysuchinformationasisalready                    l
                                                                                                                 k
         9 generally known to the public,andthatshe shallnotrelease,use,ordisclosethesame exceptwith             i
        10 thepriorwrittenpermissionofOptimizeContactSolutions,Ltd.''                        j
                                                                                             1
        l1        24. ThispolicywasechoedinthePolicyStatementforlnformationSecurity,whichwas 1
                                                                                                                 !
        12 atlached asExhibit1to theemploymentagreement, lreviewed thisStatement,and itemphasized
        13 thatç%o meetitsoperational,Gnancial,and legalresponsibilities.theCompanym ustprotectits
        14   proprietary information and intellectualproperty.''ltalso reminded em ployeesthatti-rradesecretss
        15 a11documentsmarked confidential,and any sensitivebusinessinform ation disclosed to an
        16 employeemustnotbedivulged orused in non-company-related business,''
        17 .        25.    Baxaknew thatshewasprohibited from uploading company data.lreviewed her
        18 em ployer's'dM andatory IT Policies.''Underthesepolicies,i<uploading ortransferring any
        19 com pany network datato unauthorized orunapproved websitesorindividualsisstrictly prohibited.

        20 (Thisdataincludesalltilesanddirectoriesresidingwithincompanyserversorcormectedtothe
                                                                                                                 i
        21 companynetwork.l''Kaplan alsosignedanIT usepolicywheresheagreedtothesameterms.       f
        22 ThepolicythatBaxasignedalsoprohibited herfrom Sçaccessingdataofwhichtheemployeeisnot l
        23 an intended recipientorlogging into a senreroraccountthattheemployeeisnotexpressly                    k
        24   authorizedto access,unlessthesedutiesarewithinthescope ofregularduties.''
        25          26.    Further,Selling Sotlrce,according to ChiefTechnology OfticerScottBarbour,
        26 expendsconsiderable time,m oney and efforton secuzity measuresto protectitscontidentialdata


                                                            8
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                    *                                       @

from disclostlretothird parties.Forexam ple,accessto Selling Source'scom putersisgoverned by
a layerofpasswords;alm ostallofthedatadiscussed herein isprotected by asecond layerof
passwordsforthatparticulardepartm entwherethedata isstored;and only certain authorized
employeesaregranted accessto thisdata.M oreover,Selling Source'softicesare restricted to only
authorized employeesand governed bya Pm accessto akeypad.Em ployeeswho work from
hom em ustlog in to Selling Source'scom putersusing a ltsecure ID token verification system .''
       27.     Finally,to ensure thatem ployees are notstealing com pany infonnation,Selling
Sourceentered into employmentagreem entswith Baxaand Kaplan. Underthisem ploym ent

agreement,Baxaand Kaplanacknowledgedtheirintemet,E-mailandcomputeruseenjoyed'INO
EXPECTATION OF PRIVACY''(emphasisinoriginal).Theyalso agreed,amongotherthings,
thatC%OC S,due to the nature ofO CS businessand the interestin protecting proprietary

infonnation,shallmonitoremployeeuseoftheInternet,email(whetheremailfrom acompanyor
private accountso longastheem ailisaccessed from acom pany computerin thecascofthe

latter),OCScomputers(includingkeystrokes,websurfingslCQ etc.lsOCS phonesystem andall
othertechnology utilized by OCS to carrm utcompany functions.''Baxa and Kaplan signedand
acknowledged similarpoliciesin Selling Sources'EiM andantory IT Policies.''
O n A ugust6,2010,K im Baxa E-m ails stolen data to K aplan
       28.     Despitetheserestrictions,Baxahas,startingno laterthan August20l0,been
working with Kaplmlto stealSelling Sotzrce data,and sellitto Pope.W urm and others.
       29. OnAugust6,2010,Baxa(kimi7o6@aol.comllsentanE-mailtoKaplan
(katkaplan@msn.com),whichwasanessentiallyblankmessage,withfourtileattachments.These
filesallrelated to Selling Source'sM oney M utualcam paign featuring M ontelW illimns. The tiles
contained directm ailand otheradvertising sam ples forthe cmnpaign. This issignificant,because
thisfilesuggeststhatco-conspiratorssuch asPope,W llrm and othersintendedto usedatastolen



'      Ipreviouslyobtainedawarranttosearchkimi7o6@aol.
                                                     com,andfrom itscontents,IbelieveitwasusedbyKim
Baxa. Some ofthesecontentsaredescribedherein.

                                                9
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                                                                                                          I
                                                                                                          I
 1 from Selling Sourcetoreplicate Selling Source'sM oney M utualpayday lendingproduct.
 2             30.   M oney M utualappearsto bewell-known in thepayday lending industry. Ibase this
 3 on the factthat,aslaterexplained,Jason Rudolph,when pitched by Popeto participatein his
 4 schem t,rtcognized thesimilarityto the M oney M utualcam paign,andknew thatitbelonged to
 5     Selling Source. Hewas,in fact,so concerned thathecontacted Selling Sourcedirectlyand warned
 6 itofa possible the; ofdata and otherm aterials,
 7 O n November16.2010,Baxa dem andspaym entbefore shesendsany m oreçfprime files''
 8             31.   OnNovem ber16,2010,Baxacomplained to Kaplan aboutherlack ofpayment,
 9 HerE-m ailstated,Ctltisnow 3weekspast...im tired ofthe gamesand saying sam eshit. Ihave
10 given 550k and aIlthathasbeen paid is25k.Iwanttheoriginal10k each and when isee3Ok in my
11 acctwecan revisitsending anotherthing,'' lbelievethatû%550k''refersto thenumberofstolen
12 custom er/salesleadssentto Pope. lbelievethatBaxa'sreferenceto çd25k''refersto payments
l3 already received from Pope;(t10k each'' and '&30k''refersto paym entsshehopesto receivefrom
14     Pope.
l5             32.   The nextday,on N ovem ber 17,20 l0,Baxa sentanotherE-m ailto K aplan

16 demandingpaymentbeforeshesendsanymoreçtprimetiles''toPope(viaKaplanl:
17                          lwantconsistency and iwantthe guy to stic.   k tohisword.
                            The tilesigive are prim e files.H e lm ow sthat.Iw antto be
18                          fairlycompensated forit.1gave 550 k recordsn the costis
                            around .03 each with whathmsbeen paid out.Iwantpayment
19                          forthe lasttile of269k and then iw antpaym entBEFO RE i
                            send anotherone.
20
                            (...J
21?;
  r)                        Iam pissedthatheexpectsthingsyesterday.hecancallit
22 '                        holdinghostageandheisright.iam notjumpinganymore.                             !
23                          Basicallywhen wegetarealamountforwhathehas                                    l
                            received and m ore forthe nextthing iwillthen send iton m y
24                          tim e.
25             33.   Notably,Baxa'sE-m ailalso discussed proceeding on aseparatefront,so sheand       .



26     Kaplan could Sçgetpaid forthedata''bya differentcustomer,tiphillip.''


                                                     10
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                    @                                       @

                      Asforphillip wecan stillmoveforward.Idoubtheis
                      w orking w ith him n even ifhe isitistw o separate things.
                      M aybe w e w ould even getpaid forthe data.
On Novem ber 18,2010,faced with Baxa'sultim atum ,Pope quickly respondswith a $20,000
paym ent;allparties use interm ediaries to disguisethe paym ent

        34.    PopepaidKaplan (who,inturn,paidBaxa);butthemarmerin whichtheydidthis
showstheirconsciousnessofguiltbecausethey al1tried to concealthepaym entsby using
interm ediaries.
        35.    0n Novem ber18,2010,thedayatterBaxa sentherultim atum ,Popepaid Kaplan
$20,000.linferthisfrom thefactthatPope(cnl234t'
                                              2me.com)receivedawiretransfer
confirmationfrom çtAngelo''(lloridanloo@ email.com),which showedthat$20,000was
transfen'
        edtothebankaccountofKarenM cchesney(Kaplan'ssister)onoraboutNovember18,
2010.
               KaplanthenE-mailedBaxa(kimi7o6rzaol.com)asking,ttl-low wouldyouIikeit?''
(i.e.,how wouldBaxaliketobepaid?).Baxarespondedthefollowingday,directingKaplanto
send itto ttDonnabs''account.Ibelievebased on thisinvestigation that'tDonna''refersto Dorma
Finerty,Baxa'sthen live-in girlfriend.

        37. A few dayslater,onNovember23,2010,KaplanE-mailedBaxawiththesubject,
isDid Karen getyou yourstuflp'' Thenextday,Kaplan sentBaxaanotherE-mailwhich said,
ttshould be there now .''
        38.    Ibelieve these E-m ails show thatK aplan paid Baxa by conspiring to cause

M cchesneytolaundermoneyontheirbehalf,inordertohidethesourceofthepayments(Pope),
andthereasontheyreceivedthem (forthedatastolenfrom SellingSource,LLC).Notably,theuse
ofintennedimiesshowsthata11oftheindividualsinvolved are laundering thefundssentbetween
them in orderto attem ptto disguisetheirassociation arld preventthediscoveryoftheirillegal
activity.




                                                11
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 1 Attllesam etime,on Novem ber l8,2010,Popeand W urm eontinued to ask form orestolen
 2     data from K aplan and Baxa

 3            39. OnNovember18s2010,Wunn(charlie.wurm@proacquire.com)sentKaplan
 4 (katkaplan@msn.com)anE-mail.ThesubjectoftheE-mailwas,diGetlingclose& ''TheBigFile'
 5 Request.''TheE-mailread(inpartl:EiKathy,CurtiswantedyoutoseetheE-mailthreadbelow
 6     regarding m ovem entand developm enton thelead system .He also asked thatlrequest''thebig file
 7     with a1loftheincompletes''from you.Iassum eyou know whathe means,''

 8       40. Kaplanthen fonvardedthismessagetoBaxa(kimi7o6@aol.com)thesameday
 9 (November18,2010),tellingher,çilkim -Canyousendmeyourphonenumber?lwanttotalkto
10 youaboutthis.Thmlks.IwillnotbehomeuntilDec 10th.-.
                                                    K.athy.''(Thetimingisconsistent
l1 Baxa'sultimatum:asofNovember18,2010,Baxahadnotyetreceivedpayment.)
12            41. OnNovember19,2010,Baxa(kimi7o6@aol.com)providedherphonenumberto
13 Kaplan(katkaolr @msn.com),andthenadvised:
14                          Thebigfiletakesabout2hoursforforIsic)justonesdays
                            worth ofdata -then when Idedupe-itgoesfrom 50011to
15                          20k.1need to m esswith m ycodeto tigureouthow to speed
                            itup,ThesearethefailsImn talkingabout.IfIcouldjustdo
l6                          name and addressno otherstuffitwould befasterprobably.
                            Callm e w hen ever,
17
              42.    ln response,Kaplan asked Baxa,tçW ould ithelp ifJeffhelpsyou with the
18
       deduping? Ordo you need to do itonline?'' Ibelieve thatK aplan is'asking ifBaxaneedsto be at
19
       Selling Source,LLC'Softicesand connected to theirsystem inorderto rem ove duplicaterecords.
20
       (1mncurrentlyunsurewho'çleff''is.)Baxareplied,tûl-
                                                        lastobedonehere.Mymachinecrashes,So l
21                                                                                                      i
                                                                                                        r
  !1 itwilltaketime.''n isisanotherexamplethatshowsthatKaplan knowsthedataisbeing
22l,
   1
   kc provided by Baxa,an em ployee of Selling Source, LLC.
23
             43. OnNovem ber20,2010,Baxathen E-m ailed Kaplan:&iIspoketo magoo...hecalled,
24
      Sam eo1d song and dance.Itold him ishould have som ething wed. Im stillwaiting forkaren.She
25
       said som ething abouturphone.Firstdatashould betaken careof.Isentryan atexttheotherday
26
       forpayouts.''

                                                    l2
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     l
    I


 1             44,    Thismessage issignificantforseveralreasons. First,IbelieveGtm agoo''isPope,
2       based on otherE-m ailsIhave seen. Second,Baxa appeared ready to resum e sending Pope files

 3 now thatKaplanhadreceivedmoneyfrom Pope(andthus,Baxawasmorelikelytoreceive
4 paymentfrom Kaplan).n ird,%%Ryan,''who lbelievetobeKaplarfsson RyanJolmson,appearsto
 5 bem aking ddpayouts''to people,again likely to concealthesourceofthefundsgenerated from the
 6 illegalactivity.
 7 O n N ovem ber 22,2010,Baxa starts using E-m ailaceountkdb 4orz vahoo.com ,and uploads
 8 tw o files ofstolen data

 9             45.    Baxastartedusinganew E-mailaddresstandacodename,iishortstop''),
10 presumablytoconcealherrolefrom outsiders.OnNovember22,2010,Baxa(using
11 kdb 4orzvahoo com)sentamessagetoPope(cp1234@ me.com) and
                       .
                                                                                                     l
                                                                                                     j
                                                                                                     4
12 (Kaolantkatkaplan@msn.com),withthefollowingtext:kçshortstophere.YoucansendanyE-
13 m ailstothisE-mail.Iwillhavetwo thingsforyou on W ednesday asdiscussed.Haveagreatdayl''
14             46.    Itlaterbecom esclearthrough both m essagessentto and received by

15 kdb tlorf/vahoo.com,thattheaccountholderisBaxa.Further,Ibelievethetwothingspromised
16 are tilesbelonging to Selling Source.
17             47.    n esame day,Poperesponded to Baxa'smessage saying,kslt'sbeginning to look a
18      lotlikeChristm as!!!'' Popetold Kaplan,is'l'
                                                   hank you foralwaysbackingm epartner.'' lbelieve
19 this E-m ailshow s thata1lofthe parties on the E-m ailknew w hatw asgoing on,to w it,theirplan
20 wasbeingcarried out,and thatKaplanhad successfully convinced Baxato continue stealing
21 Selling Source'sdata.

22             48.    Laterthesameday,Baxa(kdb 401'valzoo.com)notifiedPopetcolz34r2me.coml,
23 Kaplan(katkarlan@msn.com):çt-
                               rheyareuploaded.''1believethisreferstothetwo tilesBaxa
24 previously prom ised to upload to athirdparty'sFTP website.
25      ,..
26      ...


                                                     13
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                                                                                                                  1



     1 From December2010toM arch2011,Baxa (and Kaplan)continuetoprovidestolendatato
     2     Pope,W urm ,and others

     3                 49.    From December2010toM arch2011,BaxalandKaplan)continuedtoprovide
     4     stolen datato Pope,W urm ,and others.

     5       50, Forexample,onDecember14,2010,Kaplan (katkaplan@ msn.com)sentfolzrE-
     6 mailstoathirdparty,çc'ingPope(cDo ireasonl.comlz Thesubjectofeachmessagewas'GFilegx1
     7 of4.19Each message contained a zip archive,whichwere named formonthsJuly, August,
     8 September,and October.Each filecontaincd aspreadsheetwith Selling Sotlrce,LLC data,
     9 including the fullname,address,phone num ber,and E-mailaddress. The spreadsheetsalso
    10     contained aEEUIUJ'field,which listed whatlbelieveto bethe web sitethecustom erusedto
    1l subm ittheirapplication.Ichecked thetirstsevenuniqueUlv s,which Glerm M cKay ofSelling
    12     Sourcetold m eal1belonged to oneoftheiraffiliates.In addition,Isaw thatsom eofthereferring
    13     Ulll,Swererelatedto M oney M utual,which Iknow isowned by Selling Source.
    14                 51.    Laterthatday,thethird party replied to Kaplan and cc'ed Pope,informing Kaplan

    15 thathe(thethirdparty)hadreceivedthet'
                                           ilesandthatûseverythinglooksgood,''
    16                 52.    M cKay told methatSelling Source purchasesthoseleadsfrom third-party affiliates
    l7 forapproxim ately $44/lead,and isableto sellthem for$55/1ead.In total,thespreadsheets
    18 contained over272,000 custom errecordsforJuly,over303,000 recordsforAugust, over272,000
    19 recordsforSeptember,and over273,000 recordsforOctober.Thus,thevalueofa1Iofthedata
    20                                                                                                            J
           contained injustthosefourspreadsheetsappearstoexceed$49million(l.12million customer                    f
    21 recordsx $44 each).
1   22     ...
l   23     ,   .   ,



    24     ...
    25

    26 2               popealsousesgp@ireasonlcom;lknow thisbecauseincp1234@me.com isan E-mailfrom iscurtisPope
                                              .

      1lqcp@ireasonl.com>.''
      I'
                                                               14
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     1 By M arch 9,2011,K aplan and Baxa have a falling outwith Pope- butefferto continuethe
     2 schem e w ith a third party
     3           53.    AfterM arch 9,2011,Kaplan and Baxa no longercom municatewith Pope. Itisat
     4     thispointthatthecrim inalenterprise appearsto fork,with Kaplan,Baxa,and otherson one side,
     5 and Pope,W urm ,and anumberofothersontheother.
     6           54.    Bmsed on the foregoing information,Isubmitthereisprobable causeto arrest
     7 KatherineM .Kaplan fortheabove-listed violations,which areincorporated herein byreference.
     8                                         Sealine A pnlication
     9
           1also respectfully movethisCourtforan Ordersealingthisaffidavitand complaintuntilsuchtime
    1O
         II astheCourt(oranotherCourtofcompetentjurisdiction)shallorderothem ise.1submititis
    11ji
      $F necessa!'
                 yforthisdocumenttobesealedinlightofthefactthatitmakesreferencetoinformation
    12rIr
       fegardinganongoinginvestigation.Isubmitthatdisclosureofthisinformationmightjeopardize 1
                         -
                                                                                             1
    13                                                                                          i
       theinvestigation.IsubmitthattheUnited States'righttosecrecy faroutweighsthepublic'sright I
    14 to know .                                                                                1
                                                                                            ,.-,
                                                                         'f
                                                                         '
                                                                  ...    '
    15                                                                  z'            s'.
                                                       Fz        ,. 'ye.
                                                                      ,z              ..-
                                                                                            'ee'
                                                                                               -...
    16                                                 -
                                                    ScottBaup r,Special gent
    l7                                              FederalBureau oflnvestigation
    l%
    19     SUBSCRIBED and SW ORN to beforem e
           on Novem ber2,2011.
    20
                                                       ..e       .e.             .7
    21                                              <L'' W   .             'T,
                                                                             W                        .e''
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    22 '                                            UNITED STA'I'ES M AGISTRATE JUDGE
I
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    23                                                                                                       1
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